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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

     PHYSICIANS HEALTHSOURCE, INC.,                              )
     individually and as the representative of a class of        )
     similarly-situated persons,                                 )
                                                                 )
                                    Plaintiff,                   )   Case No.: 12-cv-5105
                                                                 )
                    v.                                           )   Hon. Matthew F. Kennelly
                                                                 )
     A-S MEDICATION SOLUTIONS LLC, WALTER                        )
     HOFF and JOHN DOES 1-10,                                    )
                                                                 )
                                    Defendants.                  )

              ORDER FOR DISTRIBUTION OF REMAINING JUDGMENT FUNDS

          Pursuant to the Report of Judgment Administrator filed with this Court on February 5,

2021 (Doc. 462), It is hereby ordered that:

1.        The Judgement Administrator may distribute from the remaining balance in the Judgment

          Fund as follows: $1,903,000.00 in attorneys’ fees, $156,452.50 in expenses (which

          includes $131,892.50 administrative fees advanced to the Judgment Administrator) and

          Plaintiff’s incentive award of $7,500.00.

2.        The Judgment Administrator will return $3,397.32 to Defendants ($3,199.80 in spurned

          payments and $197.52 in undistributed funds due to rounding).

3.        The Judgment Administrator may now undertake the process of escheating the unclaimed

          funds ($819,788.76) in accordance with the laws in the state of residence of each class

          member who failed to negotiate their check.



Dated: February 5, 2021                                     ________________________________
                                                            Hon. Matthew F. Kennelly
